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                       1N THE UNITED STATES DISTRICT COURtt                       w晨 露』ぼ電濯調」翼電F‖ C
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVIS10N

UNITED STATES OF AMERICA,                                    CRIMINAL NO.:3:14¨ cr‑230‑FDW

       V.                                                       CONSENT ORDER AND
                                                             」UDGMENT  OF FORFEITURE
(3)FREDRICK ELW00D TUCKER                                       PENDING RULE 32.2(c)(2)


        BASED UPON the Defendant's plea of guilty and finding that there is a nexus between
the property listed below and the offense(s) to which the Defendant has pled guilty and that the
Defendant (or any combination of Defendants in this case) has or had a possessory interest or
other legal interest in the property,IT IS HEREBY ORDERED THAT:

        l.    The following property is forfeited to the United States pursuant to 18 U.S.C. $
982(a)(l) and/or 28 U.S.C. $ 2461(c), provided, however, that forfeiture of specific assets is
subjectto any and all third party petitions under 2l U.S.C. $ 853(n), pending final adjudication
herein:
   . Approximately $217,020 in United States currency seized during the investigation;
   o A forfeiture money judgment in the amount of $450,480.84, such amount
       constituting the proceeds of offenses set forth in the Superseding Bill of Indictment;
   o 733 Major Lake Drive, Hill City, South Dakotal and
   c 737 Major Lake Drive, Hill City, South Dakota.
       2.       The United States Marshals Service, the investigative agency, and/or the agency
contractor is authorized to take possession and maintain custody of the above specific asset(s).

       3.      If and to the extent required by Fed. R. Crim. P.32.2(b)(6),21 U.S.C. g 853(n),
and/or other applicable law, the United States shall publish notice and provide direct written
notice of forfeiture.

       4.      A forfeiture money judgment shall be included in the defendant's sentence, and
the United States may take steps to collect the judgment from any property of the defendant,
provided, the value of any forfeited specific assets shall be credited toward satisfaction of this
money judgment upon liquidation

       5.       Any person, other than the Defendant, asserting any legal interest in the property
may, within thirty days of the publication of notice or the receipt of notice, whichever is earlier,
petition the court for a hearing to adjudicate the validity of the alleged interest.

       6. Pursuant to Fed. R. Crim. P.32.2(b)(3), upon entry of this order, the United States
Attorney's Office is authorized to conduct any discovery needed to identify, locate, or dispose of




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the property, including depositions, interrogatories, and request for production of documents, and
to issue subpoenas pursuant to Fed. R. Civ. P. 45.

        7.      As to any specific assets, following the Court's disposition of all timely petitions,
a final order of forfeiture shall be entered. If no third party files a timely petition, this order shall
become the final orderof forfeiture, as provided by Fed. R. Crim. P.32.2(c)(2), and the United
States shall have clear title to the property, and shall dispose of the property according to law.

        The parties stipulate and agree that the aforementioned asset(s) constitute property
involved in Defendant's crime(s) herein and are therefore subject to forfeiture pursuant to l8
U.S.C. $ 982(a)(l) and/or28 U.S.C. 52461(c). The Defendant hereby waives the requirements
of Fed. R. Crim. P.32.2 and 43(a) regarding notice of the forfeiture in the charging instrument,
announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment
against Defendant. If the Defendant has previously submitted a claim in response to an
administrative forfeiture proceeding regarding any of this property, Defendant hereby withdraws
that claim. If Defendant has not previously submitted such a claim, Defendant hereby waives all
right to do so. As to any firearms listed above and/or in the charging instrument, Defendant
consents to destruction by federal, state, or local law enforcement authorities upon such legal
process as they , in their sole discretion deem to legally sufficient, and waives any and all right to
further notice ofsuch process or such destruction.

JILL WESTMORELAND ROSE
ACTING UNITED STATES ATTORNEY




STEVEN R.KAUFMAN                                                  REDRICK EL
Assistant United States Attorlley                               Defendant




                                                                Attorney for Defendant

Signed this the 30th day of March 2015。




                                                                           C.KEESLER
                                                                     MAGISTRATE JUDGE




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